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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

   SERGIO ESPINOSA,

          Plaintiff,

   v.                                                CASE NO.: 1:17-cv-20799-RNS

   BARCLAYS BANK DELAWARE

         Defendant.
  _____________________________________________________________________________

                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE


         COMES NOW, Plaintiff Sergio Espinosa, and Defendant Barclays Bank Delaware, by and

  through their undersigned counsel, and would represent to the Court that this action has been

  resolved, and would request entry of an Order dismissing this matter with prejudice, each party to

  bear their own costs and attorneys’ fees.

         Respectfully submitted on May 29, 2018.


   /s/ Heather H. Jones                                 /s/ Brandon T. White
   Heather H. Jones, Esq.                               Brandon T. White, Esq.
   Florida Bar No.: 0118974                             Florida Bar No.: 106792
   William “Billy” Peerce Howard, Esq.                  REED SMITH LLP
   Florida Bar No.: 0103330                             1001 Brickell Bay Drive, Suite 900
   THE CONSUMER PROTECTION FIRM, PLLC                   Miami, Florida 33131
   4030 Henderson Blvd.                                 Tel: (786) 747-0222
   Tampa, FL 33629                                      Fax: (786) 747-0299
   Tel (813) 500-1500/Fax: (813) 435-2369               bwhite@reedsmith.com
   Heather@TheConsumerProtectionFirm.com                Attorney for Defendant
   Billy@TheConsumerProtectionFirm.com
   Attorneys for Plaintiff
